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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF SOUTH CAROLINA

IN RE;

Chapter 13
Michael Byron Feagins and
Cathy Ann Feagins,

DEBTOR. Case No. 19-04034-hb

DEBTOR’S OBJECTION TO MOTION

The Debtor(s), through counsel, hereby responds to the §362 Motion filed on behalf of
Freedom Mortgage Corporation (Movant).

( ) Upon information and belief, the property which is the subject of the motion has
equity init. Thus, the Movant is adequately protected,

(X) The Debtor has been making or is willing to bring the mortgage payments current
and keep them current. Thus, the Movant is adequately protected.

(x) Debtor objects to the requested relief and requests a hearing on the matter.

C )

Wherefore, having fully responded, the Debtor ot respecttully requests that the request for
relief be denied.

/s/: Mitchell C Payne

Mitchell C. Payne, LD. #4381
Attorney for Debtor

P.O. Box 10352

Rock Hill SC 29731

(803) 329-8656

September 16, 2024
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FOR THE DISTRICT OF SOUTH CAROLINA
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AFFIDAVIT OF MAILING

PERSONALLY appeared before me, Varsha S. Maigur, who being duly sworn, deposes
and says that she mailed a copy of the Debtor’s Objection to Motion in the above captioned
proceeding, depositing same in the Post Office, postage prepaid at Rock Hill, South Carolina,

where there is regular communication by mail, and that the same was mailed on the 16th day of
September, 2024 to:

Joshua R. McGlone

Brock & Scott, PLLC
3825 Forrestgate Drive
Winston Salem, NC 27103
Attorney for Movant

Gretchen D Holland, Trustee
Via CM/ECF

/s/: Varsha S. Maigur
Varsha S. Maigur

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SWORN to before me this on Eo,
16th day of September, 2024. Tyo ng
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My Comrimission Expires: 4/20/2031 “1, TH Epo ws

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